






Opinion issued January 24, 2008














In The

Court of Appeals

For The

First District of Texas

____________


NO. 01-07-00211-CR

____________


GILBERT GARCIA, JR., Appellant


V.


THE STATE OF TEXAS, Appellee







On Appeal from County Criminal Court at Law No. 1 

Harris County, Texas

Trial Court Cause No. 1417421






MEMORANDUM  OPINION

	On January 14, 2008, appellant  filed a motion to dismiss the above-referenced
appeal.  The motion complies with the Texas Rules of Appellate Procedure.  See Tex.
R. App. P. 42.2(a).

	We have not yet issued a decision.  Accordingly, the motion is granted and the
appeal is dismissed. 

	The Clerk of this Court is directed to issue the mandate.  Tex. R. App. P. 18.1.

PER CURIAM

Panel consists of Chef Justice Radack, and Justices Jennings and Bland.

Do not publish.  Tex. R. App. P. 47.2(b).


